    Case 1:22-cv-01743-TJK Document 3-2 Filed 06/17/22 Page 1 of 2




           Appellate Division of the Supreme Court
                    of the State of New York
                   Third Judicial Department


     I, Robert D. Mayberger, Clerk of the Appellate Division of
the Supreme Court of the State of New York, Third Judicial
Department, do hereby certify that

                      Brett John O'Brien
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on January 19, 2012,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Administration
Office of the Courts, and according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                           In Witness Whereof, I have hereunto set
                           my hand in the City of Albany on June
                           16, 2022.




                                 Clerk of the Court


CertID-00071208
         Case 1:22-cv-01743-TJK Document 3-2 Filed 06/17/22 Page 2 of 2
                                State of New York
                        Supreme Court, Appellate Division
                           Third Judicial Department
                                Admissions Office
                          P.O. Box 7350, Capitol Station
                             Albany, NY 12224-0350

                               AD3AdmissionsOffice@nycourts.gov
Robert D. Mayberger                                                             Anthony A. Moore
                            http://www.nycourts.gov/ad3/admissions
 Clerk of the Court                                                            Director of Attorney
                                        (518) 471-4778
                                                                                   Admissions




     To Whom It May Concern:


            An attorney admitted to practice by this Court may request a certificate of good
     standing, which is the only official document this Court issues certifying to an
     attorney's admission and good standing.


           An attorney's registration status, date of admission and disciplinary history may
     be viewed through the attorney search feature on the website of the Unified Court
     System.


           New York State does not register attorneys as active or inactive.


           An attorney may request a disciplinary history letter from the Attorney
     Grievance Committee of the Third Judicial Department.


          Bar examination history is available from the New York State Board of Law
     Examiners.


           Instructions, forms and links are available on this Court's website.




                                                     Robert D. Mayberger
                                                     Clerk of the Court


     Revised January 2022
